                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                         CRIMINAL DOCKET NO.: 5:03CR34

UNITED STATES OF AMERICA            )
                                    )
            vs.                     )
                                    )                        ORDER
JENNIE KNOX BROWN (2),              )
                                    )
            Defendant.              )
___________________________________ )

        THIS MATTER is before the Court on Defendant’s Miscellaneous Motion for Relief,

filed March 23, 2006. In this Motion, Defendant asks the Court for an order directing the United

States Marshal Service to transport her from Federal Prison Camp in Alderson, West Virginia to

Statesville, North Carolina for attendance at a Social Security Disability hearing on April 26,

2006.

        After various conversations with officials at the Federal Prison Camp in Alderson, West

Virginia and with Defendant’s attorney, Walter Patterson, the Court concludes that transportation

of Defendant for less than a day of hearings is unwarranted. However, the Court believes that

Defendant’s appearance at the April 26 Social Security hearing via conference call will

accomplish the same or similar objectives as her physical appearance at this hearing.

        IT IS, THEREFORE, ORDERED that Defendant’s Miscellaneous Motion for Relief is

hereby GRANTED IN PART AND DENIED IN PART. Defendant’s Motion is denied to the

extent she asks for the Court to order the United States Marshal Service to transport her from

Alderson, West Virginia to Statesville, North Carolina for the April 26 Social Security Disability

hearing. However, Defendant’s Motion is granted in that the Court will request that the Warden


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at the Federal Prison Camp in Alderson, West Virginia provide Defendant with access to a

telephone at 12:30 p.m. on April 26, 2006 so that Defendant can participate in her Social Security

Disability hearing by conference call.

       The Clerk is directed to send copies of this Order to defense counsel, Defendant, and

Deborah Hickey, Warden, Federal Bureau of Prisons, Federal Prison Camp, Box A,

Alderson, West Virginia 24910.




                                                Signed: March 28, 2006




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